 

Case: 1:05-cv-O4046 Document #: 1 Filed: 07/13/05 Page 1 of 11 Page|D #:1 W

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IN THE UNITED sTATEs DISTRICT CoURT s
FoR THE NoRTHERN DISTRICT oF ILLINols JUL 1 3 2905 N"
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PATRICIA GONZALEZ, on pehalf of ) guam u_s_ ms.mlc.[ Coum.
herself and all other persons similarly )
Situated, known and unknown, )
)
Plaimiff, ) 0 5 C 4 0 4 6
) Case No.
v. )
) _ 7
JOKAT CO., INC., PMA MCD, INC. and ) Judge JUDGE MANN`NG
PHILIP FUENTES, Individually, )
) 1 v
Defendams_ ) MAGISTRATE_J_U_D_§§“§M_

COMPLAINT

Plaintiff, Patricia Gonzalez, on behalf of herself and all other similarly situated employees,
known and unknown, through her attorneys, for her Cornplaint against Defendants Jokat Co., Inc.,
PMA MCD, Inc. and Philip Fuentes, individually, (collectively “Defendants”) states as follows:
NATURE OF PLAINTIFF’S CLAIMS

l. This lawsuit arises under the Fair Labor Standards Act, 29 U.S.C. §201, et seq.
(“FLSA”), and the Illinois Minimum Wage Law, 820 ILCS 105/l et seq. (“IMWL") for Def`endants’
failure to pay overtime Wages to Plaintif`f and other similarly situated employeesl Plaintiff and other
similarly situated employees customarily worked in excess of 40 hours per week for Defendants, but
were not paid all of their earned overtime wages for time worked in excess of forty (4()) in individual
work Weeks. Defendants’ unlawful compensation practices are continuing to this day and have (and
have had) the effect of denying Plaintiff and other similarly situated employees their earned and
living wages A copy of Plaintiff‘s Consent to bring this case as a representative action is attached

hereto as Exhibit A.

 

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THE PARTIES

2. Plaintift` is a current employee of Defendants. Plaintiff resides in and is domiciled
within this judicial district

3. Defendant Jokat Co., Inc. is an Illinois corporation doing business as a McDonalds
restaurant and is an “enterprise” as defined by in Section 3(r)(1) of the FSLA, 29 U.S.C. §203(r)(1),
and an enterprise engaged in commerce or in the production of goods for commerce within the
meaning of Section 3(s)(l)(A), in that Defendant Jokat Co., lnc.'s employees are engaged in
interstate commerce and Det`endant Jokat Co., lnc.'s annual gross volume of sales made or business
done exceeds $500,000 exclusive of excise taxes. Defendant Jokat Co., lnc.'s place of business is
located within this judicial district At all material times hereto, Defendant Jokat Co., lnc. is an
“employer” subject to the Fair Labor Standards Act, 29 U.S.C. §201 et seq.

4. Defendant PMA MCD, Inc. is an Illinois corporation doing business as a McDonalds
restaurant and is an “enterprise" as defined by in Section 3(r)(1) of the FSLA, 29 U.S.C. §203(r)(1),
and an enterprise engaged in commerce or in the production of goods for commerce Within the
meaning of Section 3(s)(l)(A), in that Defendant PMA MCD, lnc.'s employees are engaged in
interstate commerce and Defendant PMA MCD, Inc.’s annual gross volume of sales made or
business done exceeds $500,000 exclusive of excise taxes. Defendant PMA MCD, lnc.'s place of
business is located within this judicial district At all material times hereto, Defendant PMA MCD,
lnc.'s is an “employer” subject to the Fair Labor Standards Act, 29 U.S.C. §201 et seq.

5. Defendant Philip Fuentes is an officer and principal shareholder Jokat Co., Inc. and
PMA MCD, Inc. Defendant Fuentes is involved in the day to day business operations of.lokat Co.,
lnc. and PMA MCD, Inc. Among other things, for each of the Defendants Jokat Co., Inc. and PMA

MCD, Inc., Defendant Fuentes has the authority to hire and tire employees, to direct and supervise

 

 

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the work of the employees, sign on the checking accounts, including payroll accounts, and participate
in decisions regarding employee compensation and capital expenditures Defendant Fuentes is an
“employer” as defined by the FLSA, 29 U.S.C. §203(d) and the IMWL, 820 ILCS 105/3(0).
Defendant Fuentes resides in this judicial district.

6. Defendants operate several restaurants within this judicial district, including a
McDonalds restaurant located at 5500 West Cermak in Cicero, lllinois and a McDonalds restaurant
located at 2827 S. Cicero in Cicero, lllinois On information and belief, such restaurants are each
separately incorporated as lllinois corporations

7. Defendants’ various restaurants are common enterprises as defined by 29 U.S.C.
§203(r). Among other things, Defendants’ restaurants share common ownership, management,
human resource functions and personnel, share work rules, and utilize the same payroll practices that
are alleged herein to violate the FLSA and the IMWL. fn addition, Defendants’ various restaurants
share employees For example, for her work for Det`endants, Plaintiff Gonzalez Was paid With checks
issued from both Jokat, lnc. and PMA MCD, Inc.

JURISDICTION AND VENUE

8. This Court has jurisdiction over Plaintiffs FLSA claims pursuant to 28 U.S.C. §
1331. Venue is proper in this judicial district as the facts and events giving rise Plaintiffs claims
occurred in this judicial district. This Court has supplemental jurisdiction over Plaintift‘s state law
claims pursuant to 28 U.S.C. § 1367.

COUNT I
Violation of the Fair Labor Standards Act -- Overtime Wages

Plaintiff hereby realleges and incorporates paragraphs l through 8 of this Complaint.
9. This count arises from Defendants’ violation of the Fair Labor Standards Act, 29

U.S.C. §201, et seq., for their failure to pay overtime Wages to Plaintit`f and similarly situated

 

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employees for all time Worked in excess of forty (40) hours in individual work weeks

10. At all material times hereto, Plaintiff was employed by Defendants as an “employee”
within the meaning of §3(e)(l) of the FLSA, 29 U.S.C. §203(e)(l). Plaintiff performed a variety of
job duties and responsibilities for Defendants Within this judicial district.

11. At all material times hereto, Defendants were Plaintiff`s “employer” within the
meaning Section 3(d) of the FLSA, 29 U.S.C. §203(d).

12. During the course of her employment by Defendants, Plaintiff was employed by
Defendants and was not exempt from the overtime wage provisions of the Fair Labor Standards Act,
29 U.S.C` § 207.

13. _ Plaintiff was directed by Defendants to work, and did so work, in excess of forty (40)
hours per week.

i4. Pursuant to 29 U.S.C. § 207, Plaintiff and similarly situated employees were entitled
to be compensated at a rate of one and one-half times their regular hourly rate of pay for all time
worked in excess of forty (40) hours in individual workweeks.

15. Defendants did not compensate Plaintiff at a rate of one and one-half times her
regular hourly rate of pay for all time worked in excess of forty (40) hours in individual workweeks.
Instead, though Defendants directed Plaintiff to work in excess of forty (40) hours at a single
restaurant, the McDonalds restaurant located at 5500 West Cerrnak in Cicero, lllinois and
incorporated as Jokat Co., lnc., Defendants “split" Plaintiff’s compensation between two bi-weekly
payroll checks drawn on the accounts of both Jokat Co., lnc. and PMD MCD, Inc. This created the
appearance the Plaintiff did not work in excess of forty (40) hours in individual work weeks As an
example, see Exhibit B, attached hereto, showing two payroll checks issued to Plaintiff for the same

two week pay period (3/7/04 to 3/20/04), one check issued by Defendant Jokat Co., Inc showing

 

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79.14 hours worked and the other issued by PMD MCD, Inc. showing 31.24 hours worked

l6. Other non-exempt employees employed by Defendants were directed by Defendants
to work, and did so work, in excess of forty (40) hours per week.

17. Other non-exempt employees employed by Defendants likewise had their payroll
checks “split” between Defendants’ different restaurants so that Defendants could avoid the payment
of overtime wages

l 8. Defendants did not compensate other non-exempt employees at a rate of one and one-
half times their regular hourly rate of pay for all time worked in excess of forty (40) hours in
individual workweeks.

19_ Defendants’ failure and refusal to pay overtime wages to Plaintiff and similarly
situated employees for all time worked in excess of forty (40) hours per week violated the Fair Labor
Standards Act, 29 U.S.C. § 207.

20. Defendants willfully violated the Fair Labor Standards Act by refusing to pay Plaintiff
and similarly situated employees overtime wages for all time worked in excess of forty (40) hours
per week.

WHEREFORE, Plaintiff prays for a judgment against Defendants as follows:

A. A judgment in the amount of one and one-half times Plaintiff s and similarly situated
employees’ hourly wage rate for all time which Plaintiff and similarly situated
employees worked in excess of forty (40) hours per week;

B. Liquidated damages in an amount equal to the amount of unpaid overtime
compensation found due;

C. Reasonable attomeys’ fees and costs incurred in filing this action; and

D. Such other and further relief as this Court deems appropriate and just.

 

 

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COUNT II
Violation of the lllinois Minimum Wage Law -- Overtime Wages
(Plaintiff Individually Only)
Plaintiff hereby realleges and incorporates paragraphs l through 20 of this Complaint.

21 . This Court has supplemental jurisdiction over the matters alleged herein pursuant to
28 U.S.C. § 1367.

22. The matters set forth in this Count arise from Defendants’ violation of the overtime
compensation provisions of the illinois Minimum Wage Law. 820 ILCS 105/4a Plaintiff brings this
action pursuant to 820 ILCS 105/12(a).

23. At all relevant times herein, Defendants were Plaintiff s “employers” as defined in the
lllinois Minimum Wage Law, 820 ILCS 105/3(0), and Plaintiffwas Defendants’ “employee” within
the meaning of that Act.

24. Pursuant to 820 ILCS 105/4a, for all weeks during which Plaintiff worked in excess
of forty (40) hours, Plaintiff was entitled to be compensated at one and one-half times her regular
hourly rate of pay for all time worked in excess of forty (40) hours in individual workweeks

25. Defendants violated the lllinois Minimum Wage Law by refusing to compensate
Plaintiff at one and one-half times her regular hourly rate of pay for all time worked in excess of
forty (40) hours in individual Workweeks.

26. Pursuant to 820 ILCS 105/12(a), Plaintiff is entitled to recover unpaid wages for three
years prior to the filing of this suit, plus punitive damages in the amount of two percent (2%) per
month of the amount of under payments

WHEREFORE, Plaintiff prays for a judgment against Defendants as follows:

A. A judgment in the amount of one and one-half times Plaintiff’s regular hourly Wage

rate for all time Which Plaintiff worked in excess of forty (40) hours in individual

 

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workweeks;
B. Punitive damages pursuant to the formula set forth in 820 ILCS 105/l2(a);
C. Reasonable attorneys' fees and costs incurred in filing this action; and

D. Such other and further relief as this Court deems appropriate and just.

Respectfully submitted,

Dated; Ju1y13,2005 (C)/\ Ck/\

DOUGLAS M. WERMAN (ARDC#6204740)
CI-IRIS WILLIAMS (ARDC#6284262)

Law Offices of Douglas M. Werman

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Chicago, lllinois 60602

(312) 419-1008

Attorneys for Plaintiff

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EXHIBIT A

 

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IN THE UNITED STATES DISTRICT COURT
FOR TI-IE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

PATRICIA GONZALEZ, on behalf of

herself and all other persons similarly

situated, known and unknown,
Plaintiff,

V.

JOKAT CO., lNC,, PMA MCD, INC. and
PHILIP FUENTES, Indivi_dually,

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) Case No.
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) Judge
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Defendants

NOTICE OF CONSENT TO BECOME A PARTY PLAINTIFF IN A
COLLECTIVE ACTION UNDER 'I`HE FAIR LABOR STANDARDS ACT

By my_f signature below I represent to the Court that I have been employed by
Defendant(s) claude (,a ,I-\c. i’tM¢<t w:cr\ Iri¢.. emg Pl»\l a 'Ftte¢=*-e§
within the prior three (3) years, that I have worked for Defendants hours m excess of forty (40)
in individual work weeks, and have not been paid all of the overtime wages owed to me pursuant
to 29 U.S.C. §207(3). I authorize through this Consent the filing and prosecution of this Fair
Labor Standards Act action in my name and on behalf of all persons similarly situated to myself

My name is: Qg-§ g , g'. ¢_ @°g Zg l 5 z (print your name)
`Yoursignature: ge § §§ ¢:,{5. wquel¢],

Date on which I signed this Notice: 3 - 9- q -5
(today’s date)

Douglas M. Werman

Chris Williams

The Law Office of Douglas M. Werman
77 W. Washington, Suite 1815

Chicago, i160602

312-419-1008

Attorneys for Plaintiff

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EXHIBIT B

 

 

    

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